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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

GREG SLOAN,

        Plaintiff,                             CASE NO. 8:11-cv-00471-SDM-MAP

                v.

VALENTINE & KEBARTAS, INC.,

      Defendant.
_____________________________________/

                       NOTICE OF VOLUNTARY DISMISSAL

    GREG SLOAN (Plaintiff), by his attorneys, KROHN & MOSS, LTD., and pursuant to

FRCP 41(a)(1)(i) (Dismissal of Actions - Voluntary Dismissal By Plaintiff Without Court

Order) voluntarily dismisses, with prejudice, VALENTINE & KEBARTAS, INC. (Defendant),

in this case.


                                               RESPECTFULLY SUBMITTED,

                                          By: /s/ James D. Pacitti_________
                                                James D. Pacitti, Esq.
                                                FBN: 119768
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                                                10474 Santa Monica Blvd, Suite 401
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                               VOLUNTARY DISMISSAL
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2011, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Attorney for Defendant by email at rhandley@v-k-i.com.



                                                             /s/ James Pacitti
                                                             James Pacitti
                                                             Attorney for Plaintiff




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                                   VOLUNTARY DISMISSAL
